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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                    Judge R. Brooke Jackson

  Civil Action No 19-cv-00874-RBJ-MEH

  WARNER BROS. RECORDS INC., et al

         Plaintiffs,

  v.

  CHARTER COMMUNICATIONS, INC.,

         Defendant.


             ORDER SETTING TRIAL AND TRIAL PREPARATION CONFERENCE



         This matter has been scheduled for a three-week Jury Trial on the docket of Judge R.

  Brooke Jackson in the U.S. District Courthouse, Courtroom A902, 9th Floor, 901 19th Street,

  Denver, Colorado, to commence on November 2, 2020 at 9:00 a.m.

         A Trial Preparation Conference is set for October 2, 2020 at 9:00 a.m. Counsel who

  will try the case shall attend in person.

         During the Trial Preparation Conference the parties should be prepared to address: jury

  instructions, jury selections, witnesses and evidence, anticipated evidentiary issues, stipulations

  as to fact, and any other issue affecting the duration or course of the trial. The parties are

  directed to confer prior to the Trial Preparation Conference in order to reach agreement on as

  many, if not all, of the proposed jury instructions. The proposed stipulated and disputed jury

  instructions should be emailed to Jackson_chambers@cod.uscourts.gov at least one week in

  advance of the Trial Preparation Conference.

         For additional information, please review my practice standards located at
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  http://www.cod.uscourts.gov/JudicialOfficers/ActiveArticleIIIJudges/HonRBrookeJackson.aspx

                DATED this 8th day of July, 2019.

                                                    BY THE COURT:




                                                    ___________________________________
                                                    R. Brooke Jackson
                                                    United States District Judge
